 Case 1:22-mj-00022-JCN Document 26 Filed 02/22/22 Page 1 of 2                PageID #: 40




                            UNITED STATES OF AMERICA
                                DISTRICT OF MAINE


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )      1:22-mj-00022-JCN
                                           )
XAVIER PELKEY,                             )
                                           )
                     Defendant             )


                     ORDER OF DETENTION PENDING TRIAL

       On February 22, 2022, the Court conducted a hearing by videoconference on the

Government’s motion for detention. (Motion, ECF No. 4.)

       Based on the information presented during the hearing, after considering the factors

set forth in 28 U.S.C. § 3142(g), for the reasons stated on the record, which reasons include

the nature and circumstances of the charge, which is alleged to involve a destructive device,

the weight of the evidence as outlined in the affidavit filed in support of the complaint, and

the nature and seriousness of the danger presented, the Court finds there are no conditions or

combination of conditions that will reasonably assure Defendant’s appearance or the safety

of the community.

       Therefore, the Court grants the Government’s motion and orders that Defendant be

detained pending trial.

       Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable,

from persons awaiting or serving sentences or being held in custody pending appeal.
 Case 1:22-mj-00022-JCN Document 26 Filed 02/22/22 Page 2 of 2                 PageID #: 41




Defendant shall be afforded a reasonable opportunity for private consultation with defense

counsel. On order of a court of the United States or on request of an attorney for the

Government, the person in charge of the corrections facility shall deliver the defendant to the

United States marshal for the purposes of an appearance in connection with a court

proceeding.

       SO ORDERED.

                                           /s/ John C. Nivison
                                           U.S. Magistrate Judge

Dated this 22nd day of February, 2022.




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